                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA

                         Plaintiff,
v.                                                                Case No. 09-CR-186

DEANDRE BEASON,

                         Defendant.


                  ORDER ADOPTING MAGISTRATE JUDGE CALLAHAN’S
               RECOMMENDATION (DOC. # 365) AND DENYING DEFENDANT’S
                    MOTION TO SUPPRESS EVIDENCE (DOC. # 302)

                 The defendant, Deandre Beason, filed a Motion to Suppress Evidence Seized

from 2576 N. 12th Street, Milwaukee, Wisconsin (Doc. # 302).1 In the motion, Beason contends

that the affidavit submitted in support of the application for the search warrant on 2576 N. 12th

Street did not establish probable cause that evidence of a crime was present. Further, Beason

asserts that the evidence seized and that has been attributed to him was found in an area not

covered by the warrant.

                 Magistrate Judge William Callahan denied the defendant’s motion for an

evidentiary hearing on the motion to suppress because this issue was one that could be decided

on the briefs. On April 27, 2010, Judge Callahan issued a Recommendation that this court deny

Beason’s motion after considering the totality of the circumstances and finding that there was

probable cause to issue the search warrant because: 1) the informant was reliable; 2) the

information supplied by the informant was corroborated and supplemented by law enforcement

observation and wiretapped conversations; 3) the time between the information obtained by the

affiant and the issuance of the warrant was relatively short, especially in relation to the duration

of the conspiracy. He also found that law enforcement had probable cause to search the entire


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          The next day, the defendant filed a Motion to Sever (Doc. # 306). That motion was granted by the
magistrate judge on March 26, 2010.



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12th Street residence, including the attic where a firearm was located, inasmuch as the warrant

covered both units of the duplex. The Recommendation directed the parties to 28 U.S.C. §

636(b)(1)(A)-(C) and General Local Rule 72.3, and noted that they had ten days from service

of the Recommendation to file written objections for consideration by this court. However, no

objections were filed.

              On dispositive matters and certain other matters enumerated in 28 U.S.C. §

636(b)(1)(A) and Fed. R. Crim. P. 59, including motions to suppress evidence, a magistrate

judge may only propose findings and make recommendations. A district court must review de

novo the recommendations of the magistrate judge to which a party timely objects. 28 U.S.C.

§ 636(b)(1)(C); Fed. R. Crim. P. 59(b)(2), (3). However, portions of a recommendation to which

no party objects are reviewed for clear error. Johnson v. Zema Sys. Corp., 170 F.3d 734, 739

(7th Cir. 1999). Thus, the de novo standard of review applies only to matters on which a party

objects to a magistrate judge's recommendation (rather than an order) on the issues set forth

in § 636(b)(1)(A) and Fed. R. Crim. P. 59(b)(1).

              The court has reviewed Judge Callahan’s Recommendation as to defendant

Beason’s Motion to Suppress and finds no clear error. Therefore,

              IT IS ORDERED that Magistrate Judge Callahan's Recommendation (Doc. # 365)

is adopted, and for the reasons set forth by the magistrate judge, defendant Beason’s Motion

to Suppress Evidence (Doc. # 302) is denied.

              Dated at Milwaukee, Wisconsin, this 16th day of December, 2010.

                                                         BY THE COURT

                                                         /s/ C. N. Clevert, Jr.
                                                         C. N. CLEVERT, JR.
                                                         CHIEF U.S. DISTRICT JUDGE




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